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11 Court-Appointed Lead Counsel

12
                               UNITED STATES DISTRI CT COURT
13
                         NORTHERN DISTRICT OF CALIFORNIA
14
                                                    Master File No. 17-cv-06779-RS
15 IN RE TEZOS SECURITIES LITIGATION
                                                    CLASS ACTION
16

17 This document relates to:                        PLAINTIFFS’ ADMINISTRATIVE
                                                    MOTION FOR LEAVE TO FILE A
18         ALL ACTIONS.                             RESPONSE TO THE DECLARATIONS
                                                    OF ARTHUR BREITMAN AND
19                                                  KATHLEEN BREITMAN CONCERNING
                                                    ASSERTION OF MARITAL
20
                                                    COMMUNICATIONS PRIVILEGE
21
                                                    [Proposed Order and Declaration of Hung G.
22                                                  Ta filed concurrently herewith]
23                                                  Judge:      Hon. Sallie Kim
                                                    Trial Date: Not Yet Set
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                               ADMIN. MTN. FOR LEAVE TO FILE RESPONSE
          Case 3:17-cv-06779-RS Document 235 Filed 07/25/19 Page 2 of 3



 1          Pursuant to Civil Local Rule 7-11, Plaintiffs hereby submit this administrative motion
 2 (“Administrative Motion”) for an order permitting Plaintiffs to file a response to the declarations of

 3 Arthur Breitman and Kathleen Breitman concerning the assertion of the marital communications

 4 privilege. See Dkt. Nos. 233 (“AB Decl.”); 234 (“KB Decl.”) (collectively, the “Declarations”).

 5          The basis of this Administrative Motion is that the Declarations raise numerous unanswered
 6 questions concerning the alleged confidentiality of the communications exchanged by the Breitmans

 7 using their work email addresses. Among other things:

 8          •      The Declarations state that the Breitmans were the only directors, officers, or
 9                 employees of DLS, and that DLS was a “two-person operation.” See AB Decl. ¶¶ 4,
10                 7; KB Decl. ¶¶ 4, 7. However, DLS’s document production reveals that a number of
11                 other individuals possessed or otherwise had access to “@tezos.com” email addresses,
12                 including but not limited to: “Ross Kenyon,” listed next to the “support@tezos.com”
13                 email address; Charlie Wiser, with an email address charlie.wiser@tezos.com, and
14                 Alison Mangiero, with an email address alison.mangiero@tezos.com.
15          •      The Declarations state that the Chief Security Officer of a third-party organization,
16                 the Tezos Foundation, had access to the Breitmans’ DLS email accounts. See AB
17                 Decl. ¶ 5, KB Decl. ¶ 5.
18          •      Arthur Breitman’s declaration states that there is an alleged agreement with the Tezos
19                 Foundation not to access his or Kathleen Breitman’s emails, but fails to attach any
20                 documentary evidence of such agreement. See AB Decl. ¶ 5.
21          Plaintiffs believe that they should be given a fair opportunity to respond to the Declarations
22 and address the above, as well as other, issues raised by the conclusory statements set forth therein.

23 Plaintiffs believe these issues are highly relevant to the determination of whether the Breitmans’ work

24 email communications were confidential. Accordingly, Plaintiffs respectfully request that the Court

25 grant them permission to file a response no longer than 5 pages within 5 days of the issuance of its

26 order.
27          As set forth in the accompanying declaration of Hung G. Ta, Plaintiffs could not obtain a
28 stipulation concerning this administrative motion because the Court’s order permitting the Breitmans

                                                      1
                                ADMIN. MTN. FOR LEAVE TO FILE RESPONSE
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 1 to submit the Declarations (Dkt. No. 232) does not afford Plaintiffs an opportunity to respond and no

 2 other rule or statute otherwise permits a response.

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 4                                                           Respectfully Submitted,
 5    Date: July 25, 2019                                     HUNG G. TA, ESQ. PLLC
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 7                                                            By: /s/ Hung G. Ta

 8                                                            Court-Appointed Co-Lead Counsel
 9
10                                      FILER’S ATTESTATION
11
            Pursuant to Civil L.R. 5-1(i)(3), regarding signatures, Enoch H. Liang hereby attests that
12
     concurrence in the filing of the documents has been obtained from the signatories above.
13

14
      Date: July 25, 2019                                     By: /s/ Enoch H. Liang
15                                                               Enoch H. Liang

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                                ADMIN. MTN. FOR LEAVE TO FILE RESPONSE
